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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

CHERYL BESSER, individually and on
behalf of all others similarly situated,             Case No. 13-1088

                    Plaintiff,

      v.                                              Complaint – Class Action

MICHIGAN COMMERCE BANK,

                    Defendant.                       Jury Demanded



             CLASS ACTION COMPLAINT – JURY DEMANDED

      Comes now Plaintiff Cheryl Besser (“Plaintiff Besser”), on behalf of herself

and all others similarly situated and alleges as follows:

                                 INTRODUCTION

      1.     Plaintiff Besser is a blind individual. Her condition was caused by

juvenile rheumatoid arthritis and she has been completely blind for the past thirty-

two years.

      2.     As Plaintiff goes about her daily business, she regularly has occasion

to make use of the banking services that are available through Automated Teller

Machines (“ATMs”), so long as those ATMs are accessible to the blind. As




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discussed at length below, federal law includes very specific provisions calculated

to guarantee that ATMs are accessible to blind and visually-impaired individuals. 1

         3.   If a given ATM does not include the accessibility features that are

mandated by federal law, blind consumers like Plaintiff cannot use the ATM

independently and are thus faced with the prospect of having to share private

banking information with other individuals to complete a banking transaction at the

ATM. The mandatory ATM accessibility requirements at issue in this lawsuit are

calculated to permit blind and visually impaired individuals to use ATMs

independently, without having to divulge private banking information to a third

party.

         4.   Notwithstanding that federal law mandates very specific ATM

accessibility requirements for the blind, a March 7, 2012 Wall Street Journal

article noted the widely publicized fact that at least 50% of the nation’s ATMs

remain inaccessible to blind individuals in violation of these laws. In that same

article, a spokesperson for the National Federation of the Blind (“NFB”) was

quoted as saying: “It is absolutely unacceptable that at this late date there are

hundreds of thousands of ATMs that are still not accessible to blind people.”



1
      Plaintiff invokes the term “accessibility” as a defined term of art. That is,
“accessibility” is specifically defined in the applicable statutes and regulations
discussed at length in the text below and Plaintiff is using the term in the context of
those definitions, and not in the abstract.
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      5.     As is the case nationally, a significant percentage of the ATMs

throughout Michigan continue to violate accessibility requirements mandated by

federal law. Many inaccessible ATMs are located within the geographic zone that

Plaintiff typically travels as part of her everyday activities. This shortage of

accessible ATMs severely limits the ability of Plaintiff and other blind and visually

impaired individuals to benefit from the banking services made available to the

American consumer public through ATMs.

      6.     The NFB and other blind advocacy groups have been fighting to

achieve ATM accessibility since at least as early as 1999, at which time the NFB

began to work with the manufacturers of ATMs and the banking industry to

encourage the addition of voice guidance and universal tactile keypads, inter alia,

to ATM machines.

      7.     While some financial institutions have worked pro-actively to achieve

compliance with federal ATM accessibility requirements that impact the blind

community, the NFB and other blind advocacy organizations have pursued civil

litigation against financial institutions which remain in violation of accessibility

requirements long after those accessibility requirements were first introduced. 2




2
      The history of the specific accessibility requirements applicable to ATMs is
discussed in detail in the text below.
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      8.     As noted above, to the extent that a given ATM does not comply with

the accessibility requirements mandated by federal law, it is nearly impossible for

Plaintiff and others similarly situated to independently use that ATM. 3

      9.     After March 15, 2012, Plaintiff Besser visited an ATM owned and

operated by Defendant Michigan Commerce Bank (“Defendant”) located at 800

East Milham, Portage, MI, 49081 (the “Subject ATM”). The Subject ATM is

inaccessible to the blind in violation of applicable law, as is described in detail in

the text below.

      10.    The Subject ATM is located approximately four miles from Plaintiff

Besser’s home. The Subject ATM is within the geographic zone that Plaintiff

Besser typically travels as part of her everyday activities. Plaintiff Besser will

continue to regularly visit the ATM in the future as part of her effort to locate

accessible ATMs that she personally can use within the geographic zone that she

typically travels as part of her everyday activities, and on behalf of the blind

community, generally.


3
       To understand how difficult it would be for a blind person to use an ATM
that does not include the accessibility features at issue in this lawsuit, a sighted
individual need only close his or her eyes, approach the ATM and attempt to
perform a banking transaction—any transaction. It is impossible to perform the
transaction without vision because the input modalities for the transaction rely
upon visual cues, which are of course meaningless to somebody who is blind. That
is why an ATM is not accessible to a blind individual unless it offers voice
guidance and all of the additional accessibility requirements that are mandated by
the laws at issue.
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       11.     Plaintiff alleges violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq., (the “ADA”) and its implementing

regulations.

       12.     On behalf of a class of similarly situated individuals, Plaintiff seeks a

declaration that Defendant’s ATMs violate federal law as described and an

injunction requiring Defendant to update or replace its ATMs so that they are fully

accessible to, and independently usable by, blind individuals. Plaintiff also requests

that once Defendant is fully in compliance with the requirements of the ADA, the

Court retain jurisdiction for a period of time to be determined to ensure that

Defendant has adopted and is following an institutional policy that will, in fact,

cause Defendant to remain in compliance with the law.

                           JURISDICTION AND VENUE

       13.     This Court has federal question jurisdiction over the ADA claims

asserted herein pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.     Plaintiff’s claims asserted herein arose in this judicial district and

Defendant does substantial business in this judicial district.

       15.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2)

in that this is the judicial district in which a substantial part of the acts and

omissions giving rise to the claims occurred.




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                                       PARTIES

         16.   Plaintiff, Cheryl Besser, is and, at all times relevant hereto, was a

resident of the State of Michigan. Plaintiff Besser is and, at all times relevant

hereto, has been legally blind and is therefore a member of a protected class under

the ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set

forth at 28 CFR §§ 36.101 et seq.

         17.   Defendant, Michigan Commerce Bank is a bank organized under the

laws of the State of Michigan and is headquartered at 2950 State Street South, Ann

Arbor, MI, 48104. Defendant is a public accommodation pursuant to 42 U.S.C. §

12181(7)(F) which offers banking services through its ATMs.

                                  TITLE III OF THE ADA

         18.   On July 26, 1990, President George H.W. Bush signed into law the

ADA, a comprehensive civil rights law prohibiting discrimination on the basis of

disability.

         19.   The ADA broadly protects the rights of individuals with disabilities

with respect to employment, access to State and local government services, places

of public accommodation, transportation, and other important areas of American

life.

         20.   Title III of the ADA prohibits discrimination in the activities of places

of public accommodation and requires places of public accommodation to comply


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with ADA standards and to be readily accessible to, and independently usable by,

individuals with disabilities. 42 U.S.C. § 12181-89.

      21.      On July 26, 1991, the Department of Justice (“DOJ”) issued rules

implementing Title III of the ADA, which are codified at 28 CFR Part 36.4

      22.      Appendix A of the 1991 Title III regulations (republished as

Appendix D to 28 CFR part 36) contains the ADA standards for Accessible Design

(1991 Standards), which were based upon the Americans with Disabilities Act

Accessibility Guidelines (1991 ADAAG) published by the Access Board on the

same date. 5



4
       The DOJ is the administrative agency charged by Congress with
implementing the requirements of the ADA.
5
       The Access Board was established by section 502 of the Rehabilitation Act
of 1973. 29 U.S.C.§ 792. The Board consists of 13 public members appointed by
the President, the majority of whom must be individuals with disabilities, and the
heads of the 12 Federal departments and agencies specified by statute, including
the heads of the Department of Justice and the Department of Transportation.
Originally, the Access Board was established to develop and maintain accessibility
guidelines for facilities designed, constructed, altered, or leased with Federal
dollars under the Architectural Barriers Act of 1968. 42 U.S.C. § 4151 et seq. The
passage of the ADA expanded the Access Board’s responsibilities.
       The ADA requires the Access Board to “issue minimum guidelines . . . to
ensure that buildings, facilities, rail passenger cars, and vehicles are accessible, in
terms of architecture and design, transportation, and communication, to individuals
with disabilities.” 42 U.S.C. § 12204. The ADA requires the DOJ to issue
regulations that include enforceable accessibility standards applicable to facilities
subject to Title III that are consistent with the “minimum guidelines” issued by the
Access Board, 42 U.S.C. § 12134(c), 12186(c), but vests with the Attorney
General sole responsibility for the promulgation of those standards that fall within
the DOJ’s jurisdiction and enforcement of the regulations.
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      23.    In 1994, the Access Board began the process of updating the 1991

ADAAG by establishing a committee composed of members of the design and

construction industries, the building code community, and State and local

government entities, as well as individuals with disabilities.

      24.    In 1999, based largely on the report and recommendations of the

advisory committee, the Access Board issued a notice of proposed rulemaking to

update and revise its ADA and ABA Accessibility Guidelines.

      25.    The Access Board issued final publication of revisions to the 1991

ADAAG on July 23, 2004 (“2004 ADAAG”).

      26.    On September 30, 2004, the DOJ issued an advance notice of

proposed rulemaking to begin the process of adopting the 2004 ADAAG.

      27.    On June 17, 2008, the DOJ published a notice of proposed rulemaking

covering Title III of the ADA.

      28.    The long-contemplated revisions to the 1991 ADAAG culminated

with the DOJ’s issuance of The 2010 Standards for Accessible Design (“2010

Standards”). The DOJ published the Final Rule detailing the 2010 Standards on




       The ADA also requires the DOJ to develop regulations with respect to
existing facilities subject to Title III.
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September 15, 2010. The 2010 Standards consist of the 2004 ADAAG and the

requirements contained in subpart D of 28 CFR part 36.6

    THE ADA HAS LONG REQUIRED THAT FINANCIAL INSTITUTIONS
    THAT OWN, OPERATE, CONTROL AND/OR LEASE ATMS PROVIDE
      ATMS THAT ARE FULLY ACCESSIBLE AND INDEPENDENTLY
                   USABLE BY BLIND PEOPLE

       29.   Since the enactment of the ADA in 1991, banks and financial

institutions which provide banking services through ATMs have been required to

ensure that all banking services available at the ATM are fully accessible to, and

independently usable by, individuals who are blind. The 1991 DOJ Standards

required that “instructions and all information for use shall be made accessible to

and independently usable by persons with vision impairments.” 28 CFR part 36,

App. A. section 4.34.4.

       30.   Initially, the ADA and its implementing regulations did not provide

technical details defining the steps required to make an ATM fully accessible to

and independently usable by blind individuals.

       31.   However, after a lengthy rulemaking process wherein the Access

Board entertained extensive input from all stakeholders, the 2004 ADAAGs

adopted very specific guidelines calculated to ensure that ATM banking services

6
       Though the Effective Date of the 2010 Standards was March 15, 2011, the
communication elements of Chapter 7 of the Standards—which frame Plaintiff’s
allegations in this case—did not become effective until March 15, 2012, at which
time the 2010 Standards became enforceable through civil actions by private
plaintiffs.
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were, in fact, fully accessible to, and independently usable by, individuals who are

blind.

         32.   Section 220.1 of the 2004 ADAAGs stated that “where automatic

teller machines . . . are provided, at least one of each type provided at each location

shall comply with Section 707.”

         33.   In turn, Section 707 of the 2004 ADAAGs delineated very precise

accessibility guidelines for ATMs, including guidelines calculated to ensure that

ATMs are fully accessible to, and independently usable by, visually impaired

individuals. These guidelines included, inter alia, the following elements: ATMs

shall be speech enabled (i.e. talking ATMs)—Section 707.5; input controls shall be

tactilely discernible—Section 707.6; function keys shall have specific tactile

symbols—Section 707.6.3.2; Braille instructions shall be provided for initiating the

speech mode.

         34.   As noted, the 2010 Standards adopt the 2004 ADAAGs. The

communication elements of the 2010 Standards are set forth at Section 7--

including, in relevant part, the elements which are expressly calculated to make

ATMs fully accessible to, and independently usable by, visually impaired




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individuals. The Section 7 communication elements became fully effective on

March 15, 2012.7

      35.   Defendant owns, operates, controls and/or leases a place of public

accommodation.

      36.   Defendant’s ATMs are not fully accessible to, and independently

usable by, blind individuals. Some of Defendant’s ATMs do not include

functional voice guidance and suffer from myriad additional violations of Section 7

of the 2010 Standards.

      37.   Defendant does not have an institutional policy that is reasonably

calculated to ensure that its ATMs be fully accessible to, and independently usable

by, visually impaired individuals, as those terms are informed by Section 7 of the

2010 Standards.

                            VIOLATIONS AT ISSUE

      38.   After March 15, 2012, Plaintiff Besser visited Defendant’s ATM

located at 800 East Milham, Portage, MI, 48104.

      39.   When Plaintiff visited the Subject ATM, she had in her possession an

ATM card, and headphones that are compatible with the 2010 Standards, and


7
      The DOJ has consistently taken the position that the communication-related
elements of ATMs are auxiliary aids and services, rather than structural elements.
See 28 CFR part 36, app. B at 728 (2009). Thus, the 2010 Standards do not
provide a safe-harbor provision for implementation of these requirements unless
compliance would cause an “undue hardship” upon a public accommodation.
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intended to avail herself of the banking services offered through Defendant’s

ATM.

       40.   At the time of the visit, the Subject ATM violated Chapter 7 of the

2010 Standards in that: there was no voice-guidance feature (Section 707.5); there

were no Braille instructions for initiating speech mode (Section 707.8); and the

function keys did not have the proper tactile symbols (Section 707.6.3.2).

       41.   The Subject ATM is within the geographic zone that Plaintiff Besser

typically travels as part of her everyday activities as it is located within four (4)

miles from her home.

       42.   To date, Plaintiff has not had the practical ability to use the Subject

ATM because it is in violation of the 2010 Standards (and prior to the effective

date of the 2010 Standards, the Subject ATM was not otherwise readily accessible

to or independently usable by blind individuals).

       43.   Plaintiff will continue to attempt to use Defendant’s ATMs because

she wants to identify convenient accessible ATM options within the geographic

zone that she typically travels as part of her everyday activities, and she wants to

increase ATM accessibility for the blind community, generally. However, so long

as the Subject ATM continues to violate Section 7, Plaintiff will be unable to use it

independently and will be, thereby, deterred from visiting it.




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      44.    Though Defendant has centralized policies regarding the management

and operation of its ATMs, Defendant does not have a plan or policy that is

reasonably calculated to cause its ATMs to be in timely compliance with Chapter 7

of the 2010 Standards.

      45.    Plaintiff uses ATMs that meet the accessibility requirements of the

2010 Standards, but these ATMs are often not conveniently located.

      46.    A significant percentage of the ATMs that are located within the

geographic zone that Plaintiff typically travels as part of her everyday activities do

not comply with the 2010 Standards and are therefore inaccessible to blind

individuals like Plaintiff.

      47.    In contrast to an architectural barrier at a public accommodation,

wherein a remediation of the barrier to cause compliance with the ADA provides a

permanent or long-term solution, the addition of, or repair to, a speech enabling

function (and other related accessibility requirements) provided at the ATM of a

public accommodation requires periodic monitoring to confirm, not only that the

public accommodation is in compliance in the first instance, but also that the

public accommodation remains in compliance.

      48.    Without injunctive relief, Plaintiff will continue to be unable to

independently use Defendant’s ATMs in violation of her rights under the ADA.




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                        CLASS ACTION ALLEGATIONS

      49.    Plaintiff brings this action pursuant to Rules 23(a) and 23(b)(2) of the

Federal Rules of Civil Procedure on behalf of herself and all legally blind

individuals who have attempted to access, or will attempt to access, Defendant’s

ATMs.

      50.    The class described above is so numerous that joinder of all individual

members in one action would be impracticable. The disposition of the individual

claims of the respective class members through this class action will benefit both

the parties and this Court.

      51.    Typicality: Plaintiff’s claims are typical of the claims of the members

of the class. The claims of the Plaintiff and members of the class are based on the

same legal theories and arise from the same unlawful conduct.

      52.    Common Questions of Fact and Law: There is a well-defined

community of interest and common questions of fact and law affecting members of

the class in that they all have been and/or are being denied their civil rights to full

and equal access to, and use and enjoyment of, Defendant’s facilities and/or

services due to Defendant’s failure to make its ATMs fully accessible and

independently usable as above described.

      53.    The questions of fact and law common to the class include but are not

limited to the following:


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             a.     Whether Defendant is a “public accommodation” under the

                    ADA;

             b.     Whether Defendant’s conduct in failing to make its ATMs fully

                    accessible and independently usable as above described

                    violated the ADA, 42 U.S.C. § 12101 et seq.; and

             c.     Whether Plaintiff and members of the class are entitled to

                    declaratory and injunctive relief, and also costs and/or

                    attorneys’ fees for Defendant’s acts and conduct.

      54.    Adequacy of Representation: Plaintiff is an adequate representative

of the class because her interests do not conflict with the interests of the members

of the class. Plaintiff will fairly, adequately, and vigorously represent and protect

the interests of the members of the class and has no interests antagonistic to the

members of the class. Plaintiff has retained counsel who are competent and

experienced in the prosecution of class action litigation.

      55.    Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)

because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate both declaratory and injunctive relief with respect to

Plaintiff and the Class as a whole.




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                          SUBSTANTIVE VIOLATION

        56.   The allegations contained in the previous paragraphs are incorporated

by reference.

        57.   Defendant has discriminated against Plaintiff and the Class in that it

has failed to make its ATM banking services fully accessible to, and independently

usable by, individuals who are blind in violation of Section 707 of the 2010

Standards, as described above.

        58.   Complying with the ADA and Section 707 of the 2010 Standards

would neither fundamentally alter the nature of Defendant’s banking services nor

result in an undue burden to Defendant.

        59.   Defendant’s conduct is ongoing, and, given that Defendant has not

complied with the ADA’s requirements that public accommodations make ATM

services fully accessible to, and independently usable by, blind individuals—as

specifically defined in Section 707 of the 2010 Standards, Plaintiff invokes his

statutory right to declaratory and injunctive relief, as well as costs and attorneys’

fees.

        60.   Without the requested injunctive relief, specifically including the

request that the Court retain jurisdiction of this matter for a period to be

determined after the Defendant certifies that it is fully in compliance with the

mandatory requirements of the ADA that are discussed above, Defendant’s non-


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compliance with the ADA’s requirements that its ATMs be fully accessible to, and

independently usable, by blind people is likely to recur.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and the members of the class,

prays for:

      a.     A Declaratory Judgment that at the commencement of this action
             Defendant was in violation of the specific requirements of Title III of
             the ADA described above (specifically including Section 707 of the
             2010 Standards);

      b.     A permanent injunction which directs Defendant to take all steps
             necessary to bring its ATMs into full compliance with the
             requirements set forth in the ADA, and its implementing regulations,
             and which further directs that the Court shall retain jurisdiction for a
             period to be determined after Defendant certifies that all of its ATMs
             are fully in compliance with the relevant requirements of the ADA to
             ensure that Defendant has adopted and is following an institutional
             policy that will in fact cause Defendant to remain in compliance with
             the law;

      c.     An Order certifying the class proposed by Plaintiff, and naming
             Plaintiff as class representative and appointing her counsel as class
             counsel;

      d.     Payment of costs of suit;

      e.     Payment of reasonable attorneys’ fees; and,

      f.     The provision of whatever other relief the Court deems just, equitable
             and appropriate.




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 Dated: October 2, 2013                 Respectfully Submitted,

                                        /s/ Daniel O. Myers
                                        Daniel O. Myers, Esquire (P49250)

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